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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***

4

5
      UNITED STATES OF AMERICA,
6
                           Plaintiff,
7                                                         2:17-cr-000001-JAD-CWH
      vs.                                                 ORDER
8     BRUNO MACEDO CORREIA,
9                          Defendant.

10

11          Before the court is Defendant Bruno Correia’s Motion to Re-Open Detention or Alternatively for
12   Immediate Pre-Trial Release (ECF No. 296).
13          Accordingly,
14          IT IS HEREBY ORDERED that any opposition to Defendant Bruno Correia’s Motion to Re-Open
15   Detention or Alternatively for Immediate Pre-Trial Release (ECF No. 296) must be filed on or before May
16   24, 2018.   Any reply in support of Defendant Bruno Correia’s Motion to Re-Open Detention or
17   Alternatively for Immediate Pre-Trial Release (ECF No. 296) must be filed on or before May 30, 2018.
18          IT IS FURTHER ORDERED that a hearing on Defendant Bruno Correia’s Motion to Re-Open
19   Detention or Alternatively for Immediate Pre-Trial Release (ECF No. 296) is scheduled for 10:00 AM,
20   June 1, 2018, in Courtroom 3D.
21          The U.S. Marshal is directed to transport defendant to and from the hearing.
22          DATED this 17th day of May, 2018.
                                                                _________________________
23
                                                                CAM FERENBACH
24
                                                                UNITED STATES MAGISTRATE JUDGE

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